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EXHIBIT G

ease 1:09-cv-00597-i_i\/iB-TCB Documem 41-3 i=iied 10/23/09 Page 2 or 3 Pagl’@ilt?#l r‘i`§

Roth, Me|issa R.

From: isabel Ni Humphrey [isabe|@hhylaw.com]
Sent: Monday, October 05, 2009 2:08 PN|

To: Dickinson, Micheiie J.

Cc: Rothl Nielissa R.; Cramer, Vanessa
Subject: Re: Loomis laptops

l\/liche||el | can't understand why you need an out-of~state "consuitant" to "faci|itate" the exchange of the |aptops.
Can't you just send someone up from downstairs?? Or| can send someone downstairs Eitner way. This should
take 2 minutes

isabel iV|. Humphreyl Esq.

HUNTER, HUNlF’i-|REY & YAV|TZ, PLC
2633 E indian Schooi Rd, #440
Phoenix. Arizona 85016

Te|ephone: 602~275-7733 x103
Direct Fax: 480-452-1374
isabei@hhy|aw.com
vvww.hhylaw.com

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intended recipientl please contact the sender and delete and destroy all copies. Thanl< you.

----- Origina| Message ----
From: "Dickinson, Nlichelle J."
To:

Sent: 10/02/2009 5:47PN1
Subject: Re; Loomis |aptops

lsabel,

Thank you for your email. As explained in our letter, we will be paying a consultant to facilitate the exchange of the laptop
computers as a result of Joe's return of the wrong computer after his termination ln order to avoid unnecessary additional
expenses, it makes sense to have the consultant make only one trip to Arizona and image the tower and the other computers
in Joe's possession, custody or control during that visitl Please confirm your agreement with this arrangementl Thanks.
Michelle

Michelle .l. Dickinson

DLA Piper LLP (US)

6225 Smith Avenue

Baltimore, Maryland 21209-3600
(410) 580-4137 Direct Phone

(4 l 0) 580-3137 Direct Fax
michelle.dickinson@dlapiper.com

ATTORN EY WORK PRODUCT

----- Original Message -----

From: lsabel M l-Iumphrey <isabel@hhylaw.com>
To: Dickinson, Micheile J.

Sent: Fri Oct 02 20:03:08 2009

Subject: RE: Loomis laptops

Michelle, I've reviewed your latest communication regarding the laptops. l'm glad we have finally resolved the ownership

10/23/2009

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issue. Please have your computer tech call inc to arrange a time to exchange the laptops. l will be in the office most of the
day Monday and Tuesday.

l will respond to the other issues raised in your letter, but obviously NEI is required to return .Ioe's property immediately and
unconditionallyl

isabel M. Hurnphrcy, Esq.

HUNTER, HUMPHREY & YAVlTZ, PLC
2633 E Indian School Rd, #440

Phoenix, Arizona 85016

Telephone: 602~275-7733 x 103
Direct Fax: 480-452-1374
isabel@hhylaw.com
www.hhylaw.com

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10/23/2009

